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                  Exhibit S
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        In conclusion I am asking for some leniency with your decision. I have never
been in trouble before and have not been since. If I am taken away from my family
not only will that hurt my son, but it will cause everyone that depends on me to be
another victim in my 2020 assault of Mr.          . My parents have no one that could do
what I have taken upon my shoulders. My wife would have no help raising my son.
The company that my wife and I have invested all of our time and money into, would
disappear, upon the people that have grown to depend on us. I understand actions
have consequences, I just ask that you consider in your decision consequences that
will not impose themselves on innocent people as collateral damage.

Thank you for your time.

Respectfully,
Aaron Finn
